 Case 3:12-cv-02391-O Document 254 Filed 10/27/20                  Page 1 of 1 PageID 4206



                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION

 RYAN, LLC f/k/a RYAN &                          §
 COMPANY, INC.                                   §
                                                 §
         Plaintiff,                              §
                                                 §
 v.                                              §   Civil Action No. 3:12-cv-2391-O
                                                 §
 INSPIRED DEVELOPMENT, LLC, et                   §
 al.,                                            §
                                                 §
         Defendant.                              §

      ORDER ACCEPTING FINDINGS, CONCLUSIONS, AND RECOMMENDATION
                OF THE UNITED STATES MAGISTRATE JUDGE

        The United States Magistrate Judge made Findings, Conclusions, and a Recommendation

in this case (ECF No. 252), issued on October 22, 2020. The Court ordered the parties to file any

objections on or before October 26, 2020. ECF No. 253. No objections were filed, and the

Magistrate Judge’s Recommendation is ripe for review. The District Judge reviewed the proposed

Findings, Conclusions, and Recommendation for plain error. Finding none, the undersigned

District Judge believes that the Findings and Conclusions of the Magistrate Judge are correct, and

they are accepted as the Findings and Conclusions of the Court.

        Accordingly, the Court DENIES Defendant Estate of Donald W. Sloan’s Verified Motion

for Leave to Appear Remotely (ECF No. 250) and Plaintiff’s Motion for Leave to Appear

Remotely (ECF No. 251). The Court WITHDRAWS the reference of mediation to the

undersigned. See ECF No. 248. The Court ORDERS the parties to hire a mediator to mediate their

case at the parties’ expense and in the manner in which they desire. The parties SHALL file a joint

report on or before October 30, 2020, informing the Court of their mediation arrangements.

        SO ORDERED on this 27th day of October, 2020.

                                                        _____________________________________
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                                                        Reed O’Connor
                                                        UNITED STATES DISTRICT JUDGE
